Case 1: 05- -C\/- 01145- .]DT- STA Document 4 Filed 07/06/05 Page 1 of 3 Page|

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i-/a:» ~ _~;i:».,a
IN THE UNITED STATES DISTRICT COURT '" "
FOR THE WESTERN DISTRICT OF TENNESSEE " " ‘

EASTERN DIVISION AT JACKSON "'

 

ELEMENT ALUMINUM, LLC,
Plaintiff,
Civ. Action No. 1105_1145 T/An

V.

CAUFFIEL TECHNOLOGIES CORPORATION,

“`_/\_/\_/\_/\_/\-/\_/\_/\.-/

Defendant.

[PW-B] ORDER GRANTING CONSENT MOTION
FOR EXTENSION OF TIME TO ANSWER OR RESPOND OF

This matter came on to be heard upon the Consent Motion of Defendant, CAUFFlEL
TECHNOLOGlES CORPORATION, for an additional forty-five (45) days to answer or
otherwise respond to the Complaint filed against it in the above»styled eause. For the reasons set
forth in the Motion, the Court finds that the Motion is Well taken, and should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Consent
l\/lotion of Det`endant, CAUFFIEL TECHNOLOGIES CORPORATION, for an extension of time
to answer or otherwise respond should he and is hereby GRANTED, and that Defendant,
CAUFFlEL TECHNOLOGlES CORPORATION, shall have until August 12, 2005, to answer or

otherwise respond to the Complaint in this cause.

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ENTEREDthiS §5*5 day Of C§/JLLQ;Z ,2005.

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.TUDGE

Thls document entered on the docket sheet in compliance

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Case 1:05-cv-Oll45-.]DT-STA Document 4 Filed 07/06/05 Page 2 of 3 Page|D 2

Subrnitted for Entry:

      

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Attorneys for Caufflel Technologies Corp.

CERTIFICATE OF SERVICE

_ _ 21 /a
l hereby certify that, on thls 75 day of June, 2005, a true and correct copy of the
foregoing has been forwarded, via United States Mail, first-class postage prepaid, to:

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DISTRICT C URT - WESTERN D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01145 was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

